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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

DAVID LORENZO CRUZ,

                       Plaintiff,

v.                                                Case No: 6:19-cv-1159-Orl-40TBS

KAI JIE INC, and FA RONG ZHANG,

                       Defendants.


                                ORDER OF REFERENCE
      This case is hereby referred to the Magistrate Judge for case management, ruling

on all non-dispositive motions, and the issuance of Report and Recommendations on

dispositive motions.

      DONE and ORDERED in Orlando, Florida on this 27th day of June 2019.




Copies furnished to:

Counsel of Record




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